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 UNITED STATES DISTRICT COURT                        EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                       '
                                                '
                                                '
 versus                                         '           NO. 1:20-CR-85-MAC
                                                '
                                                '
 AMBER DAWN LEBLANC                             '


           ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                       ON DEFENDANT’S GUILTY PLEA

          The court referred this matter to the Honorable Christine L. Stetson, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Judge Stetson conducted a hearing in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11 and issued her Findings of Fact and Recommendation

 on Guilty Plea Before the United States Magistrate Judge. The magistrate judge recommended

 that the court accept the Defendant’s guilty plea. She further recommended that the court

 adjudge the Defendant guilty on Count Two of the Indictment filed against the Defendant.

          The parties have not objected to the magistrate judge’s findings. The court ORDERS

 that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

 Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the

 plea agreement until after review of the presentence report.

          It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Amber Dawn Leblanc, is




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 adjudged guilty as to Count Two of the Indictment charging a violation of 18 U.S.C. § 922(j)

 - Possession of a Stolen Firearm.

              SIGNED at Beaumont, Texas, this 25th day of October, 2021.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE




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